Case 1:24-cr-00041-ABJ Document 19 Filed 01/24/24 Page1of4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA
v.
GREGORY MIJARES,

Defendant.

CRIMINAL NO.
MAGISTRATE NO. 23-MJ-241

VIOLATIONS:

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)(D)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. § 1752(a)(1)

(Entering and Remaining in a Restricted
Building or Grounds)

18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a
Restricted Building or Grounds)

18 U.S.C. § 1752(a)(4)

(Engaging in Physical Violence in a
Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in

a Capitol Building)

40 U.S.C. § 5104(e)(2)(F)

(Act of Physical Violence in the Capitol
Grounds or Buildings)

INDICTMENT

The Grand Jury charges that:

COUNT ONE

On or about January 6, 2021, within the District of Columbia, GREGORY MIJARES

committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement

officers lawfully engaged in the lawful performance of their official duties incident to and during
Case 1:24-cr-00041-ABJ Document 19 Filed 01/24/24 Page 2 of 4

the commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT TWO

On or about January 6, 2021, within the District of Columbia, GREGORY MIJARES did
forcibly assault, resist, oppose, impede, intimidate, and interfere with, officers and employees of
the United States, and of any branch of the United States Government (including any member of
the uniformed services) while such persons were engaged in and on account of the performance of
official duties, and where the acts in violation of this section involve physical contact with the
victim and the intent to commit another felony.

(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT THREE

On or about January 6, 2021, in the District of Columbia, GREGORY MIJARES did
knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,
and otherwise restricted area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, without lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
United States Code, Section 1752(a)(1))
Case 1:24-cr-00041-ABJ Document 19 Filed 01/24/24 Page 3of 4

COUNT FOUR

On or about January 6, 2021, in the District of Columbia, GREGORY MIJARES did
knowingly, and with intent to impede and disrupt the orderly conduct of Government business and
official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area
within the United States Capitol and its grounds, where the Vice President was and would be
temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly
conduct of Government business and official functions.

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FIVE

On or about January 6, 2021, in the District of Columbia, GREGORY MIJARES did
knowingly engage in any act of physical violence against any person and property in a restricted
building and grounds, that is, any posted, cordoned-off, and otherwise restricted area within the
United States Capitol and its grounds, where the Vice President was and would be temporarily
visiting.

(Engaging in Physical Violence in a Restricted Building or Grounds, in violation of

Title 18, United States Code, Section 1752(a)(4))

COUNT SIX

On or about January 6, 2021, in the District of Columbia, GREGORY MIJARES willfully
and knowingly engaged in disorderly and disruptive conduct within the United States Capitol
Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress and either House of Congress, and the orderly conduct in
Case 1:24-cr-00041-ABJ Document 19 Filed 01/24/24 Page 4 of 4

that building of a hearing before or any deliberation of, a committee of Congress or either House
of Congress.
(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
Section 5104(e)(2)(D))

COUNT SEVEN

On or about January 6, 2021, in the District of Columbia, GREGORY MIJARES willfully
and knowingly engaged in an act of physical violence within the United States Capitol Grounds
and any of the Capitol Buildings.

(Act of Physical Violence in the Capitol Grounds or Buildings, in violation of Title 40,

United States Code, Section 5104(e)(2)(F))

A TRUE BILL:
FOREPERSON.

Mil, M. Pecee fags

Attorney of the United States in
and for the District of Columbia.
